Case 6:18-bk-O7485-CC.] Doc 8 Filed 01/24/19 Page 1 of 9

Fili in this liiforni_aliou to identify your case:

     
           

 

 

Dat)iori Car;en§ M . Bngno
mt mm i.iiase mine L»»i name

Uo!)tor 2

{Spouse. it lillng] nm nine mesa name ian Namo_

  

  
   
     
 

Unlied Slates Bankniptcy Court !or tlie: M dg!e Dlslg`cf gf El€irida {Or[aitdoi

{S tale)

Caso number 18~0?48§
(ii knonn)

 

Official Form 427
Cover Sheet for Reaffirmation Agreement.

12115

Anyone who is a party to a reafiirmation agreement may fill out and life this form. F|ll it out compleieiy, attach ii to the reaffirmation egreement,
and file the documents within the time set under Baniiruptcy Rtilo 4008.

mi-'Exptain the Repayment Terms of the Reafiirmaitlon Agreement

1. who is the crediion"

 

Narne of the creditor

 

2' H°W much 15 the debt? On the date thai the bankruptcy casale ii|ei:i 5 76,545.85

To be paid under the reaiiirmaiion agreement $ 76,568.80

*$ 468,£,3 per month for gm months (iffixed interest rate)
‘Sa|d amount does not include any optional premium amount howeven said amount may include an amount for escrow which is subiect to ohango.

 

 

 

 

 

3' Whatls the A““ua| Beiore the bankruptcy case was filed 5. 500 %
Percenta`ge Rate (APR)
of inferest? (See
. nankrupicy code under me reamrmaiion agreemeni §,§00 % iZi Fixec raie
§ 524(3)(3)(5}-) m Adjustabie rate
4. Does collateral secure '
fhedebt'i‘
m No.
[I Yee. Describe the collateral. 149 ABBEY HOLLOW DR|VE APOPKA FL 32712
Curreni market value S
5. boss the creditor assert
marine debris E’i N°
nondischargeabie? ill Yes. Atiach an expianelion cline neiure oi the debt and the basis for contending thai the debt is nondischargeab!e.

 

  
 

6. Us|ng information from income_anu_enooneo
Scheduiol:Yourincome

(Ottlclai Form 106|) and n ` 7
schedule J,- Your 6a Combined monthly income from $ \ 9\. 0 lt 00 Be. Monliiiy income from ali sources

   

s I-§O")- 00

Expenses (Omciai Form line 12 oi Sohcduie i alter payroll deductions
106.1}, ii|| in the amounts. .
Bb. Moniitiy expenses from line 22c of.. $ \ \ q 5 . OO 6{. Monihtyexpenses .. $ \ ` C| 3 ,O 0
Scheduie J '“‘"" -
6c.Mcriihiypaynienis on ali _ $ o .OQ SQMonihiypeymenis on oil reaffirmed _ $ 0 _ OG
‘Se§`f§g:|€edfebts "°l "S‘°'d °“ waterman denis rmi included in
monthly expenses
Sd.Schedu|ed net monthly income $M, f Gh. Present ne!montniy income $ .O C> __
Subiraci lines 6b and 6c from Ba. Subtra<:t lines 6§ and 6g i'rom 6e.
ii the total is less than 0, put the f if the total is less ihan 0. put the

number fn brackeis. number in brackels.

 

 

 

Case 6:18-bl<-O7485-CC.] Doc 8 Filed 01/24/19 Page 2 of 9

 

 

 

 

 

 

 

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Otflciai Form 427 Cover Sheei for Reaiftnnailon Acireemeni t page 1
Dehtor t Car|e . Bru o Case numberi.emn) 18-01485
Fnitiam mode tizml taetttan‘.s

7. Are the income amounts @' No .

on lines 6a end se i;l Yos. Exptain why they are different and complete line 10._

dittorent? 7 ,,_ '
8. Are the expense [JNG

amounts on lines 6b C] Yes. Expiain why they are different and complete line 10.

and Bi‘ different?
9. is the net monthly mi No

income iri line 6b less L_.\ Yee. A presumption oi hardship arises (unieee the creditor te o credit unlon).

than 0? Expiain how the debtor will make monitin payments on the reaffirmed debt and pay other living expenses.

Compiele line 10.

 

 

 

10‘ D°b‘°"ls °°mfl°a“°" i certify that each explanation on lines 7-9 is true and correcl.
about fines 7-9 '

if any answer on lines 7-9 is
Yes, the debtor must sign _ M /
here. x di ..4/’"""" d/ &OWPC) x

 

if alt the answers on lines 7~9 Signaiure et Dabior 1 Signaiure oi' Dabtor2 (Spouso Onii,r in a Joini Case)
are No, go toline tt.

 

t‘l. Dict an attorney represent 13 No -
the debtor in negotiating UYee. i-ias the attorney executed a declaration or an afildavi‘t to support the reafiirrnaiion agreement?
the reati|rmet|on

agreement? m No
. m Yee

 

 

 

`:'3. Stgn l-iore

 

 

 

 

 

Whoever fliie out this form t codify that the attached agreement is a true and correct copy of the reaffirmation agreement between the
must sign here. parties identified on this Coirer Sheei for Reafi'innaiion Agreemeni'.
/
x r’:r¢{zw degrth grim /f> £0/ C}’

seriatim i.ii.i i i)oirr‘r~ir

vantade

Check one:

g Debtor or Debior'e Aitorney

m Creditor or Creditoi's Aitomey

 

 

 

270

Ofitoiat Form 427 Cover Sheot for Reafiimiatlon Agreemeni 2
Pa§i€

Case 6:18-bi<-O7485-CC.] Doc 8 Filed 01/24/19_ Page 3 of 9

 

Form 24OUA(12/lS)
Chcck onc.

L_...] Pi'esulnptiun ol`Undue llardship
No Presu million of Unclnc Hardsltip
See Dsb!or‘ '.t Sla!emenr in Szrppor.l of Reajirnrarion,
Parr 11 below, lo determine which box lo check

 

 

 

UNITED STATES BANKRUPTCY COURT
Middle District ofFlorida (Orlando)

In re Cai'lenc A. Bruno, Case No. 18»07485
Debror v Chopter 7

REAFFIRMATION DOCUMEN'I`S

blame ofCreditor: Nationstnr Mortgage LLC d/b/a Mr. Cooper

l:l Check this box if Creditor is a Credlt Union

PART I. REAFT`IRMATION AGREEl\/IENT

Reaft`lrming a debt is a serious financial decision. Before entering into this Reafiirmation
Agreement, you must review the important disclosures, instructions, and definitions found in Part V of

this form.
*Holne mortgage loan covering the real property known as:

A. Brief description cf the original agreement being reaffirmed:* 149 ABBEY HOLLOW DRiVE APOPKA Fl_ 32712

For example ama loan

B. AMOIUVTREAFFIMED: $ 76 sense

 

The Amount Reaffirmed is the entire amount that you are agreeing to `pay. This may include
unpaid principal, i_ntcrest, and fees and costs (ii`any) arising on or before 12/06/18 , 1
which is the date of the Disciosure Statement portion of this form (Part V).
See the definition of "Amozm! Reafjirmeo’" in Prn't l", Sectr`on C below

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmcd is 5.500 %.
See definition of "./lnmral Peroenmge Ra!e ” in Porr V, Seclion C belowl

This is a (check one) 121 Fixed rate ` £Il Vat'iable rate

If the loan has a variable rate, the future interest rate may increase or decrease from thc Annual Peroentagc Ratc
disclosed hcre.

Case 6:18-bk-O7485-CC.] Doc 8 Filed 01/24/19 Page 4 of 9

I~`oml 2400¢’\, Reai`lirmaiion Documents Page 2

D. Reafiirmation Agreement Repayment Terms (check and complete one):
¥2§ *$ 468.43 per month for 300 months starting on 12/01/18

l:l Describe repayment terms, including whether future payment amount(s) may be different from

the initial payment amount
* The amount may include an amount for escrow, which is subject to change

 

 

E. Describe the collateral, if any, securing the debt:

 

 

Description: 14…L0W DoPi<A FL 32712
Current Market Value $

 

F. Did the debt that is being reaffirmed arise from the purchase of the coliaterai described above?
121 Yes. What was the purchase price for the collateral? $
l:l No. What was the amount of the original loan? $ 82,500.00

G. Specif`y the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement

Terrns as of the Terms After
Date of Bankruptcy Reaffirmation
Balance due (includz‘ng
fees and COS{S) $76!545.85 $ 76!568.80 *See Part i, Sect|on D. above
Annual Percentage Rate 5.500 % 5!500 %
Monthly Payment $ 468.43 $ 468.43

H. E.Il Check this box if the creditor is agreeing to provide you with additional future credit in connection
with this Reafiirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies
to future credit and any other terms on future purchases and advances using such credit:

 

 

PART Il. BEBTOR’S STATEI\TENT IN SUPPORT OF REAFFIRMATION AGREEI\C[EN'I`
A. Were you represented by an attorney during the course of negotiating this agreement?

Check one. EZFYes |:l No
B. Is the_ creditor a credit union?

Check one. EI:¥ ch E]/No

Case 6:18-bk-O7485-CC.] Doc 8 Filed 01/24/19 Page 5 of 9

Fon'n 2400¢\, Reafiirmation Documents Page 3

C. If your answer to EITHER question A. or B. above is “No,” complete l. and 2. below.
l. Your present monthly income and expenses are:

a. Monthiy income from ai-l sources after payroll deductions -
(take-home pay plus any other income) $ ig Q'i . 00

b. Monthly expenses (including ail reaffirmed debts except

this one) - $ 2 93 - 00

c. Amount available to pay this reaffirmed debt (subtract b. from a.) $ Li %Li - 00
d. Amount of monthly payment required for this reaffirmed debt $ Li Q> 3 . l_‘i 5

17 the monthly payment on this reaffirmed debt (line a'.) is greater than the amount you have available to
pay this reaffirmed debt mae c.), you must check the box ar the top ofpoge one that says "Presumptiou
ofUndue Hmdrhr}:) " Otherw_isa, von must check the box of the top ofpnge one that says “No

P) resumption of Und'ne Hordship."

2. You believe that this reaffirmation agreement Wiil not impose an undue hardship on you or your
dependents because:

Check one of the two statements below, if applicable:

lI/{ You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include' in your expenses the monthly
payments on all debts you are reaffirming, including this one.

l:l You can afford to make the payments on the reaffirmed debt even though your monthly income
is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one, because:

 

 

 

Use an additionai page if needed for a fail explanation

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

|“‘_“`i You believe this Reaffirmation Agieement` is in yourl financial inteiest and you can afford to
make the payments on the ieaffirmed debt.

Aiso, check the box at the top of page one that says "No Presnmption of Undue Hordship. ”

Case 6:18-bk-O7485-CC.] Doc 8 Filed 01/24/19 Page 6 of 9

ram alicoA,R¢arnmniaa cummins meet
PAR'I` III. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
l hereby certify that:

(l) I agree to reaffirm the debt described above.

(2) Before signing this Reaffirmation Agreement, I read the terms disclosed in this Reaffirmation
Agreement (Part i) and the Disciosure Statement, Instruetions and Deiinitions included in Part V

below;

(3) The Debtor’s Statement in Support of Reaffrrmation Agreement (Part ll above) is true and
complete;

(4) l am entering into this agreement voluntarily and am fully informed of my rights and
` responsibilities; and

(S) l have received a copy of this completed and signed Reaffirmaticn Documents form.
SIGNATURE(S) (If this is a joint Reafflrmation Agreement, both debtors must sign.):

_ ate//m`_/'\"§i%ature

Date "Signature

 
  
 
 
 
 
  

 

  
   
  
  
 

Deb!or

 

Joint Debtor, il`rmy

Reaflirmation Agreement Terms Aceepted by Cret]itor:
Creditor Nationstar Mortgage LLC dibia Mr. Coooer

A ddi ess

//;ML\//E/Wr/Le hire /5:/@<7/'7 '

Dnie

Uii ibid

  

Prin! N¢"zme

Aftiani
PAR’I` IV. CERTIFICATION BY DEB'I`OR’S ATTORNEY (IF ANY)
To be filed only ifihe attorney represented the debtor during the course of negotiating this agreement

 

l hereby certify that: (l) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) l have
fully advised the debtor of the legal effect and consequences of this agreement and any default under this

agreement

123 A presumption of undue hardship has been established with respect to this agreement. In my
opinion, however, the debtor is able to make the requiredpayment,

Check box, if the presumption of undue hai dship box is checked on page 1 and the creditor is not a Credit
Union,

Date Signature of Debtor s Attorney %;/A:»@\»/

Print Name of Debtor’ s Attotney

 

Case 6:18-bk-O7485-CC.] Doc 8 Filed 01/24/19 Page 7 of 9

Fcrm 2400A, Rculiirmation Documents n Page S

PART V. DISCLOSURE STATEMENT AN]) INSTRUCTIONS T() DEBTOR(S)

Bcfore agreeing to reaffirm a debt, review the terms disclosed in the Reaffirnration Agreement (Part I
above) and these additional important disclosures and instructionsl

Reai`firming a debt' rs a serious financial decision. The law requiles you to take certain steps to make sure the
decision' ls in your best interest If these steps, which are dctailed' 111 the instructions provided' 1n Part V, Section
B beiow, a1e not completed, the Reaffirmation Agreement1s not effective, even though you have signed it

A. I)ISCLOSURE STATEMENT

l. What are your obiigations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages. Your obligations will be determined by the Reafiirmation Agreement,
which may have changed the terms of the original agreement If you are reaffirming an open end credit
agreement, that agreement-or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions

_2. _ Are you required to e_n_t_e__r into a reaffirmation agreement by any _i_a_w? N_o, y_o__u are not required to
reaffirm a debt by any law. Only aglee to reaffirm a debt if it is in your best interest. Be sure you can
afford the payments that you agree to make

3. What if your creditor has a security interest or lieu? Your bankruptcy discharge does not eliminate
any lien on your property. A “]ien” is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collaterall - Even if you do not
reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
the iien to take the collateral if you do not pay or default on the dcbt. lf the collateral is personal
property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
than reaffirm the debt. To redeem, you make a single payment to the creditor equal to_the current value
of the collateral, as the parties agree or the court determines

4. How soon do you need to enter into and fiie a reaffirmation agreement? if you decide to enter into
a reaffirmation agreement you must do so before you receive your dischargeI Af’ter you have entered
into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
you or the creditor should file it as soon as possible The signed agreement must be filed with the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required. However, the court may extend
the time for filing, even after the 60-day period has ended.

5. Cau you cancel the agreement? You may rescind (cancei) your Reaffirmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reafiirmation Agreement is rescinded
(01' canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed

Case 6:18-bk-O7485-CC.] Doc 8 Filed 01/24/19 Page 8 of 9

Form 2400A, Reaf`t°:nnation Documents Pagc 6

6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreemeut and

i. if the creditor is ncta Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court unless the reaffirmation is presumed to be an undue hardship If` the
Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and may
set a hearing to determine whether you have rebutted the presumption of undue hardship

ii. if the creditor is a Credit Union, your Reafflrmation Agreement becomes effective when it
is filed with the court.

b. If` youwere 1101 represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffhrnation Ag1ee1nent will not be effective unless the court approves it. To have the
court approve your agreement, you must file a motion. See Inst1uction 5, below The court will notify
you and the c1e`ditor of the hea1 mg on your Reaffirmation Agreement. You must attend this hearing, at
which time the judge will review your Reafflrmation Agreement if the judge decides that the
Reaff 1 motion Agzeement is in your best 1nte1est the ag1eeme11t will be approved and will become
effective. However, if` yo111 Reaff' rmat1on Ag1eement 1_s_ for a_ consumer debt secured by a_ moitgage,_ __
' deed cf trust,` secu1ity deed, ot other lien on your real prope1 ty, like your home, you do not need to file a
motion or get comt app1oval of your Reaff r1nat1on Agr.eement

7. What if you have questions about what a creditor can do? if you have questions about reaffirming a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement if you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to
you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
creditor “may" do, it is not giving any creditor permission to do anything The word “may” is used to
tell you what might occur if the law permits the creditor to take the action.

_B. INSTRUCT'IONS

l. Rcview these Disclosuies and carefully consider your decision to leaffirm. If you want to ieaffir,m
review and complete the information contained 111 the Reaffirmation Agreement (Part I above). lf` you1
case is a joint case, both spouses must sign the agreement if both are ieaffirming the debt

2. Completc the Debtor’s Statement in Suppcrt ofReaermation Agreement (Part li above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy of
the Disclosure Statement and a completed and signed Reaffirmation Agreement.

3. if you were represented by an attorney during the negotiation of your Reafflrmatlon Agreement, your
attorney must sign vand date the Certification By Debtor’s Attorney (Part IV above).

4. You or your creditor must file with the court the original of this Reafflrmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

5. {fyou ore not represented by on ottorney, you must also complete andj:`le with the court a separate
document entitled “n/Iofiou for Court Approval of Reojj‘r`rmotfon Agreement ” unless your Renj‘irmnrion
Agreement is for o consumer debt secured by a lien on your real proper{y, such as your home. You ca11
use Form 2400B to do this.

Fom\ 2400A, Real`fin'nation Documents

C.

Case 6:18-bk-O7485-CC.] Doc 8 Filed 01/24/19 Page 9 of 9

Page 7

DEFINITIONS

“Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaftirm) by
entering into this agreementl The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on cr before the date of disciosure, which is the date specified in the
Reaffirmation Agreement (Part i, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise aiier the date of this disclosure You shouid consult your credit agreement
to determine whether you are obligated to pay additional amounts that may arise afier the date of this
disclosure ` `

“Annual Percentage Rate” means the interest rate on a loan expressed under the rules required by
federal iaw. The annual percentage rate (as opposed to the “stated interest rate”) tells you the full cost
of your credit including many of the creditor’s fees and charges. You will find the annual percentage
rate for your original agreement on the disclosure statement that was given to you when the loan papers
were signed or on the monthly statements sent to you for an open end credit account such as a credit
card.

“Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(Ev). lt is owned
and controlled by and provides financial services to its members and typically uses words like “Credit

_ Un_io_n” or initials like ‘_‘C._U._” or “i~`_.C.U."’ in_ its name.

